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                Exhibit A
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From:                              Tobin, Charles D.
Sent:                              Monday, April 14, 2025 8:43 PM
To:                                Lyons, Jane (USADC); Hudak, Brian (USADC); Freeman, Mark (CIV); Myers, Steven A.
                                   (CIV); Salzman, Joshua M. (CIV); Walker, Johnny (USADC); McArthur, Eric (CIV)
Cc:                                Mishkin, Maxwell S.; Dudding, Sasha
Subject:                           RE: Associated Press v. Taylor Budowich, et al.


Thanks for your response, Jane. In reliance on the government’s representation that the new White House press policy
will comply with the District Court’s injunction order, we will forbear from filing the motion to enforce for tonight. We
look forward to receiving the new policy tomorrow. Thank you.

Best,
Chuck


Charles D. Tobin




1909 K Street, NW, 12th Floor
Washington, DC 20006-1157
202.661.2218 DIRECT
202.661.2299 FAX
tobinc@ballardspahr.com
VCARD


www.ballardspahr.com



From: Lyons, Jane (USADC) <Jane.Lyons@usdoj.gov>
Sent: Monday, April 14, 2025 6:59 PM
To: Tobin, Charles D. <TobinC@ballardspahr.com>; Hudak, Brian (USADC) <Brian.Hudak@usdoj.gov>; Freeman, Mark
(CIV) <Mark.Freeman2@usdoj.gov>; Myers, Steven A. (CIV) <Steven.A.Myers@usdoj.gov>; Salzman, Joshua M. (CIV)
<Joshua.M.Salzman@usdoj.gov>; Walker, Johnny (USADC) <Johnny.Walker@usdoj.gov>; McArthur, Eric (CIV)
<Eric.McArthur@usdoj.gov>
Cc: Mishkin, Maxwell S. <MishkinM@ballardspahr.com>; Dudding, Sasha <duddings@ballardspahr.com>
Subject: RE: Associated Press v. Taylor Budowich, et al.

⚠ EXTERNAL
Hi Chuck,

 We respectfully disagree with your characterization of what happened today at the White House. AP was not selected
today because it was not its turn under the policy allowing one wire service access each day. Notwithstanding any
references to the litigation, the AP was not excluded today on the basis of the litigation. We anticipate a new press policy
will be announced in the next 24 hours that also conforms to Judge McFadden’s order.

Best,
Jane


Jane M. Lyons | Appellate Counsel (Civil)
                 Case 1:25-cv-00532-TNM            Document 56-1         Filed 04/16/25        Page 3 of 4
Civil Division, U.S. Attorney’s Office
601 D Street, NW, Washington, D.C. 20530
Ph: (202) 252-2540 | jane.lyons@usdoj.gov




From: Tobin, Charles D. <TobinC@ballardspahr.com>
Sent: Monday, April 14, 2025 4:54 PM
To: Hudak, Brian (USADC) <Brian.Hudak@usdoj.gov>; Freeman, Mark (CIV) <Mark.Freeman2@usdoj.gov>; Lyons, Jane
(USADC) <Jane.Lyons@usdoj.gov>; Myers, Steven A. (CIV) <Steven.A.Myers@usdoj.gov>; Salzman, Joshua M. (CIV)
<Joshua.M.Salzman@usdoj.gov>; Walker, Johnny (USADC) <Johnny.Walker@usdoj.gov>; McArthur, Eric (CIV)
<Eric.McArthur@usdoj.gov>
Cc: Mishkin, Maxwell S. <MishkinM@ballardspahr.com>; Dudding, Sasha <duddings@ballardspahr.com>
Subject: [EXTERNAL] RE: Associated Press v. Taylor Budowich, et al.

Counsel – The Associated Press was informed today by the White House that, because the litigation is ongoing, it would
not include the AP in the rotation for the White House press pool, even though the stay on the District Court’s injunction
order expired at midnight on Sunday.

In light of this, we plan to file a motion this evening asking the District Court to order the defendants to immediately
restore the AP in the press pool rotation.

Please let us know, by 7 p.m. this evening, whether the defendants consent to this relief.

Thank you,
Chuck Tobin


Charles D. Tobin




1909 K Street, NW, 12th Floor
Washington, DC 20006-1157
202.661.2218 DIRECT
202.661.2299 FAX
tobinc@ballardspahr.com
VCARD



www.ballardspahr.com



From: Tobin, Charles D.
Sent: Monday, April 14, 2025 8:25 AM
To: Hudak, Brian (USADC) <Brian.Hudak@usdoj.gov>; mark.freeman2@usdoj.gov; jane.lyons@usdoj.gov;
steven.a.myers@usdoj.gov; joshua.m.salzman@usdoj.gov
Cc: Mishkin, Maxwell S. <MishkinM@ballardspahr.com>; Dudding, Sasha <duddings@ballardspahr.com>
Subject: Associated Press v. Taylor Budowich, et al.

Counsel, our office represents The Associated Press in this matter.

As you know, the district court’s injunction order, rendered on April 8 in favor of The Associated Press, became
operative today, April 14. The injunction order requires the White House to “immediately rescind” the denial of AP’s
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access to the Oval Office and Air Force One, and to “immediately rescind [your] viewpoint-based denial of the AP’s
access to events open to all credentialed White House journalists.”

We expect the White House to restore the AP’s participation in the pool as of today, as provided in the injunction order.

Thank you,
Chuck Tobin

Charles D. Tobin




1909 K Street, NW, 12th Floor
Washington, DC 20006-1157
202.661.2218 DIRECT
202.661.2299 FAX
tobinc@ballardspahr.com
VCARD



www.ballardspahr.com
